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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
AMARYLLIS R. MUNOZ-COLON, *
                          *                          No. 13-388V
              Petitioner, *                          Special Master Christian J. Moran
                          *
v.                        *                          Filed: May 14, 2014
                          *
SECRETARY OF HEALTH       *                          Stipulation; influenza (“flu”)
AND HUMAN SERVICES,       *                          vaccine; Guillain-Barré
                          *                          Syndrome (“GBS”).
              Respondent. *
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Pedro J. Saade-Llorens, Saade & Saade Law Firm, San Juan, PR, for Petitioner;
Gordon Shemin, United States Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On May 13, 2014, respondent filed a joint stipulation concerning the petition
for compensation filed by Amaryllis Munoz-Colon on June 10, 2013. In her
petition, Ms. Munoz-Colon alleged that the seasonal influenza (“flu”) vaccine,
which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a),
and which she received on October 3, 2012, caused her to suffer Guillain-Barré
Syndrome (“GBS”). Petitioner further alleges that she experienced the residual
effects of this condition for more than six months. Petitioner represents that there
has been no prior award or settlement of a civil action for damages on her behalf as
a result of her condition.

      Respondent denies that the flu immunization is the cause of petitioner’s
alleged GBS, and/or any other injury.
       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $220,000.00 in the form of a check payable to petitioner,
        Amaryllis R. Munoz-Colon. This amount represents compensation for
        all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-388V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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